          Case 5:10-cv-01171-HE Document 85 Filed 08/07/23 Page 1 of 2




               IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF OKLAHOMA

ANTHONY CASTILLO SANCHEZ,                     )
                                              )
                     Plaintiff,               )
                                              )
vs.                                           )          NO. CIV-10-1171-HE
                                              )
CHRISTE QUICK, Warden                         )
                                              )
                     Defendant.               )

                                         ORDER

       Court-appointed counsel for petitioner Sanchez, Mark Barrett and Randal Coyne,

have filed two motions. One seeks direction as to the disposition of files maintained by

them, indicating there are some 40 banker’s boxes of documents which have been

generated in the course of this proceeding some of which contain confidential

information or other material not appropriate for release/distribution. The second motion

seeks leave to withdraw as counsel for petitioner, noting that petitioner has indicated he is

waiving his clemency hearing and that it was “for clemency that counsel were

appointed.”

       Substantially for the reasons stated in the motion, the motion for direction [Doc.

#80] is GRANTED as follows: counsel are directed to maintain possession and control

of the referenced files pending further order of the court. No exception for a trial

transcript is indicated at this point, as there has been no showing of a further proceeding

or potential proceeding as to which petitioner, proceeding pro se, might have a justifiable

need for it.
             Case 5:10-cv-01171-HE Document 85 Filed 08/07/23 Page 2 of 2




         As to the motion for leave to withdraw, it appears, based on the present

submissions, that all that remains for resolution in this case is administration of the

budget previously approved for clemency purposes.         Clemency efforts having been

abandoned by petitioner, there is no need for further representation as to clemency

matters by these counsel.1 The motion for leave to withdraw [Doc. #81] is therefore

GRANTED. Mark Barrett and Randall Coin are granted leave to withdraw, and the

Clerk of Court is directed to strike their names as attorneys of record for petitioner.

Withdrawing counsel are directed to submit any remaining claims for fees or expenses

properly chargeable to the clemency budget within fourteen (14) days from entry of this

order.

         IT IS SO ORDERED.

         Dated this 7th day of August, 2023.




         1
         To the extent that the motion suggests counsel were appointed for petitioner only
as to clemency matters (“It was for clemency that counsel were appointed.”), the court
notes that counsel have represented petitioner as to all matters in this case but that only
clemency considerations remain.
